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                                          January 1, 2019

The Honorable Lee H. Rosenthal, District Judge
United States Courthouse
515 Rusk Street, Room 11535
Houston, Texas 77002

        Re:     Case No. 16-cv-01414; ODonnell et al. v. Harris County, Texas et al.;
                In the U.S. District Court for the Southern District of Texas, Houston, Division

Dear Chief Judge Rosenthal:


In accordance with the Court’s Amended Preliminary Injunction, please find the December 22,
2018 through December 30, 2018 weekly report. Of 447 misdemeanor arrestees, there were a
total of 64 who were not present for their initial bail hearing, before a Hearing Officer, within 48
hours of arrest. Please see below:

                          Reason                                      Count
                          Medical-condition                              28
                          Mental-illness or Intellectual-disability      10

                          Other reason not present                       19

                          Hearing more than 48 hours after arrest         7




                                               Sincerely,

                                               /s/ Kate David

                                               Kate D. David
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CONFIDENTIAL - Weekly Report: Hearing over 48 hours or not present from Dec 22, 2018 to Dec 30, 2018.



                                                                                     PC Docket                                                              Arresting
Defendant Name             CaseNbr               CourtID      Arrest Date                                Present   Not Present Reason        DefendantSPN
                                                                                     Setting Date                                                           Agency
                                                                                                                                                            HOUSTON
ANDERSON,                  223887601010                              12/20/2018                                    Mental-illness or
                                                          9                            12/22/2018 4:00   No                                        849609   POLICE
TANYA                      223887501010                                   16:12                                    Intellectual-disability
                                                                                                                                                            DEPARTMENT
PENALOZA,
                                                                     12/21/2018
SHELLEY                      223858401010                16                          12/22/2018 10:00    No        Medical-condition               780349
                                                                          23:05
CORDRAY
                                                                                                                                                            HOUSTON
CHAVEZ, MEGAN                                                        12/21/2018                                    Mental-illness or
                             223900001010                11                          12/22/2018 18:00    No                                       2220324   POLICE
RASHELL                                                                   10:29                                    Intellectual-disability
                                                                                                                                                            DEPARTMENT
                                                                                                                                                            HOUSTON
CHARLES, ROY                                                         12/21/2018
                             223910501010                 4                          12/22/2018 23:00    No        per hcso disruptive            1505913   POLICE
LEE                                                                       17:50
                                                                                                                                                            DEPARTMENT
                                                                                                                                                            HOUSTON
HENRY, JAMES               222521501010                              12/22/2018
                                                          1                          12/22/2018 23:00    No        Medical-condition              1716641   POLICE
PATRICK                    223548001010                                   15:40
                                                                                                                                                            DEPARTMENT
                                                                                                                   defendant would not                      HOUSTON
HARNISHFEGER,                                                        12/21/2018
                             223908901010                 3                            12/23/2018 2:00   No        respond to questions in        1939987   POLICE
RALPH DELBERT                                                             19:00
                                                                                                                   court.                                   DEPARTMENT
WAGUESPACK,                                                          12/22/2018                                                                             CONSTABLE
                             223700801010                 9                            12/23/2018 2:00   No        Medical-condition              1597445
RENEE LEANN                                                               18:59                                                                             PCT 8
                                                                                                                                                            HOUSTON
HARMON, JOHN                                                         12/22/2018                                    Mental-illness or
                             223670501010                14                            12/23/2018 4:00   No                                       2494172   POLICE
MARSHALL                                                                  22:00                                    Intellectual-disability
                                                                                                                                                            DEPARTMENT
MILTON,
                                                                     12/22/2018                                                                             CONSTABLE
BRANDON                      223917301010                 6                            12/23/2018 4:00   No        per hcso disruptive            2977088
                                                                          15:29                                                                             PCT 7
CORTEZ
                                                                                                                                                            HOUSTON
STROUD, LARRY                                                        12/21/2018                                    per HCSo def is
                             223914501010                15                            12/23/2018 4:00   No                                       1914336   POLICE
CHRISTOPHER                                                               17:42                                    combative.
                                                                                                                                                            DEPARTMENT




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                                                                                                                    HOUSTON
THOMAS,
                 223905601010    8   12/22/2018 1:40    12/23/2018 7:00   No    Medical-condition         2658247   POLICE
TREVIEN
                                                                                                                    DEPARTMENT

DAVISON,                                 12/22/2018                             Mental-illness or                   HARRIS
                 214451201010    6                     12/23/2018 20:00   No                              1944897
RODRICK VANCE                                 21:14                             Intellectual-disability             COUNTY D. A.

THOMAS, BOBBY   223929201010             12/22/2018                             Per HCSO, D was
                                 3                     12/23/2018 20:00   No                              1274855   HUMBLE PD
RAY             223929301010                  22:11                             disruptive.
                                                                                                                    BAYTOWN
MORETTA, ZOE     223930901010    5   12/23/2018 8:12    12/24/2018 2:00   No    Medical-condition         2978501   POLICE
                                                                                                                    DEPARTMENT
MORTON,                                                                                                             HOUSTON
CHARTEZ          223931801010   14   12/23/2018 8:59    12/24/2018 2:00   No    per hacso combative       2978506   POLICE
LETRON                                                                                                              DEPARTMENT
                                                                                                                    HOUSTON
JONES, PERRY     223931001010    6   12/23/2018 8:53    12/24/2018 7:00   No    Medical-condition         1435659   POLICE
                                                                                                                    DEPARTMENT
                                                                                                                    SHERIFFS
BRADFORD,                                12/18/2018                                                                 DEPARTMENT
                 217536601010    8                     12/24/2018 10:00   Yes                             2922976
RICKY A                                       21:45                                                                 HARRIS
                                                                                                                    COUNTY
                                                                                                                    HOUSTON
JONES, TRENT                             12/23/2018                             Mental-illness or
                 223932301010   14                     12/24/2018 10:00   No                              1672508   POLICE
LADARYL                                       12:13                             Intellectual-disability
                                                                                                                    DEPARTMENT
NELSON, JAMES                            12/16/2018                                                                 CONSTABLE
                 221991701010   10                     12/24/2018 10:00   Yes                             2959479
W                                             18:41                                                                 PCT 1
                                                                                                                    HOUSTON
SMITH,                                                                          Mental-illness or
                 220128601010   15   12/24/2018 3:40   12/24/2018 10:00   No                              2943941   POLICE
DEANGELO                                                                        Intellectual-disability
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
STEVENSON,                               12/23/2018                             Mental-illness or
                 223931901010   15                     12/24/2018 10:00   No                              1682925   POLICE
DORNELL                                       10:00                             Intellectual-disability
                                                                                                                    DEPARTMENT




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RIVERS,                                                                                                             HOUSTON
                                          12/23/2018
MICHAEL           211107401010   15                     12/24/2018 16:00   No   Medical-condition         1903802   POLICE
                                               17:25
EDWARD                                                                                                              DEPARTMENT
                                                                                                                    HOUSTON
GEBREGZIABHER,   223937501010             12/23/2018                            Mental-illness or
                                  7                     12/24/2018 18:00   No                             2933342   POLICE
LEUL             218746901010                  16:54                            Intellectual-disability
                                                                                                                    DEPARTMENT
                                                                                                                    BAYTOWN
RIDEAU,                                   12/23/2018
                  223935701010    1                     12/24/2018 18:00   No   Disruptive - per HCSO     2886679   POLICE
TRINSTON                                       16:15
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
ZARATE, JEIMI     223930201010   12   12/23/2018 5:13   12/24/2018 18:00   No   Medical-condition         2978495   POLICE
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
                                          12/23/2018
COMPEAN, ALEX     223943101010   16                     12/24/2018 23:00   No   Medical-condition         2856590   POLICE
                                               23:18
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
EDDLEMAN,                                 12/23/2018
                  223943201010   16                     12/24/2018 23:00   No   Medical-condition         2807963   POLICE
TYLER LANCE                                    22:00
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
ENRIQUEZ,
                  223942501010   11   12/24/2018 1:07    12/25/2018 2:00   No   combative                 2978627   POLICE
ALBERTO
                                                                                                                    DEPARTMENT
JENKINS,                                                                                                            HOUSTON
                                          12/24/2018
VERNARD           223950301010    9                     12/25/2018 16:00   No   disruptive                1518712   POLICE
                                               18:40
SAMUEL                                                                                                              DEPARTMENT
                                                                                                                    HOUSTON
DONVART,
                  221022901010    2   12/25/2018 0:09    12/26/2018 2:00   No   Medical-condition         2892911   POLICE
ISABELLA
                                                                                                                    DEPARTMENT
                                                                                                                    METRO P. D.
MITCHELL,
                  223955601010    7   12/25/2018 0:09    12/26/2018 2:00   No   Medical-condition         2892911   CITY OF
VERDA
                                                                                                                    HOUSTON
                                                                                                                    HOUSTON
                 219611001010
WICKLUND, JOHN                   15   12/25/2018 1:30    12/26/2018 4:00   No   Medical-condition         2560148   POLICE
                 223957101010
                                                                                                                    DEPARTMENT




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                                                                                                                      SHERIFFS
                  223961201010                                                                                        DEPARTMENT
NSEK, MICHAEL J                    5   12/26/2018 0:14   12/26/2018 13:00   No    per so combative          2423867
                  223961301010                                                                                        HARRIS
                                                                                                                      COUNTY
                                                                                                                      SHERIFFS
MOHANSINGH,                                                                       Mental-illness or                   DEPARTMENT
                   223962601010   11   12/26/2018 2:30   12/26/2018 16:00   No                              2048162
SHERVIN MARK                                                                      Intellectual-disability             HARRIS
                                                                                                                      COUNTY
FORD, DEVINY                               12/26/2018                                                                 CONSTABLE
                   223927601010    3                     12/26/2018 18:00   No    Medical-condition         2753916
RENEE                                           10:00                                                                 PCT 4
GARZA,                                                                                                                HOUSTON
FRANCISCO          223883101010    8   12/26/2018 8:30   12/26/2018 23:00   No    disruptive per hcso        454892   POLICE
VILLA                                                                                                                 DEPARTMENT
                                                                                                                      SHERIFFS
                                           12/26/2018                                                                 DEPARTMENT
JONES, DAMBRA      223967001010    8                      12/27/2018 2:00   No    Medical-condition         2335064
                                                16:07                                                                 HARRIS
                                                                                                                      COUNTY
                                                                                                                      PASADENA
AUBRY, KENSIE                              12/26/2018
                   223966501010   15                      12/27/2018 4:00   No    Medical-condition         2288367   POLICE
RENEE                                           10:45
                                                                                                                      DEPARTMENT
                                                                                                                      PASADENA
LANE, BRANDON                              12/26/2018
                   223969601010    3                     12/27/2018 16:00   No    Medical-condition         2602156   POLICE
LEE                                             21:15
                                                                                                                      DEPARTMENT
                                                                                                                      HOUSTON
                                           12/27/2018
REYES, REY         217625001010    6                     12/27/2018 23:00   No    Medical-condition         2924264   POLICE
                                                14:51
                                                                                                                      DEPARTMENT
                                                                                  Defendant needed
                                                                                                                      CONSTABLE
ZHENG, QIU FENG    223580801010   16   12/27/2018 9:00   12/27/2018 23:00   No    Mandarin interpreter;     2975606
                                                                                                                      PCT 1
                                                                                  none availa
                                                                                                                      HOUSTON
DUNN,                                      12/14/2018
                   221787201010   11                      12/28/2018 2:00   Yes                             2934276   POLICE
CHRISTOPHER                                     22:22
                                                                                                                      DEPARTMENT
ESPINOZA,                                  12/27/2018                                                                 CONSTABLE
                   223976001010    3                      12/28/2018 2:00   No    Medical-condition         2279156
GERALDO JR.                                     11:00                                                                 PCT 6




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REDEAUX,                                  12/27/2018
                  222959401010   11                      12/28/2018 2:00   No                           2486910   HUMBLE PD
DARRELL WAYNE                                  19:18

                                                                                                                  HOUSTON
BIZARRAGA,                                12/27/2018                             removed from court -
                  223976401010    6                      12/28/2018 4:00   No                           2795802   POLICE
EDUARDO                                        11:47                             disruptive
                                                                                                                  DEPARTMENT
HERNANDEZ,                                12/19/2018                                                              CONSTABLE
                  220823401010   15                     12/28/2018 10:00   Yes                          2950365
DENNIS                                         11:29                                                              PCT 1
                                                                                                                  HOUSTON
YAX TZUNUN,
                  221170801010   15   12/18/2018 9:20   12/28/2018 10:00   Yes                          2953344   POLICE
JEREMIAS DAVID
                                                                                                                  DEPARTMENT
                 218786801010                                                                                     PASADENA
MENDOZA, JESUS   218062301010    13   12/18/2018 8:20   12/28/2018 13:00   Yes                          2928503   POLICE
                 218062401010                                                                                     DEPARTMENT
                                                                                                                  HOUSTON
RAMIREZ, LAURA    222586201010    1   11/9/2018 16:36   12/28/2018 13:00   Yes                          2964513   POLICE
                                                                                                                  DEPARTMENT
                                                                                                                  HOUSTON
MITCHELL,                                 12/27/2018
                  223981701010   12                     12/28/2018 16:00   No    Medical-condition      2390561   POLICE
SEPRENA DANIEL                                 20:25
                                                                                                                  DEPARTMENT
                                                                                                                  HOUSTON
GIVENS, RODNEY                            12/27/2018
                  223982201010    1                     12/28/2018 20:00   No    Medical-condition      1652411   POLICE
REMON                                          18:30
                                                                                                                  DEPARTMENT
                                                                                                                  SHERIFFS
                                                                                 per HCSO def. was                DEPARTMENT
MESA, GERMAN      223988601010   13   12/28/2018 1:30   12/28/2018 20:00   No                           2385688
                                                                                 disruptive.                      HARRIS
                                                                                                                  COUNTY
                                                                                                                  SHERIFFS
BENCH, HEATHER                                                                                                    DEPARTMENT
                  224005701010   12   12/29/2018 1:47   12/29/2018 16:00   No    Medical-condition      2363668
CHRISTINE                                                                                                         HARRIS
                                                                                                                  COUNTY
                                                                                                                  SHERIFFS
                 223976301010             12/28/2018                                                              DEPARTMENT
SYMMES, JULIE                     5                     12/29/2018 16:00   No    Dsiruptive             2381154
                 224000301010                  23:27                                                              HARRIS
                                                                                                                  COUNTY




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SCOTT, ISRAEAL                            12/28/2018                            Per HCSO, Defendant                 CONSTABLE
                  224003601010    3                     12/29/2018 20:00   No                             1768527
BROWN                                          23:59                            was disruptive.                     PCT 4
                                                                                                                    HOUSTON
O'BRYANT,                                 12/29/2018
                  223657201010   13                      12/30/2018 4:00   No   Medical-condition         2219220   POLICE
CHRISTOPHER                                    21:29
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
BLAKE, TRACY
                  224010901010   16   12/29/2018 3:01    12/30/2018 7:00   No   Medical-condition         1318428   POLICE
DENISE
                                                                                                                    DEPARTMENT
MALONE,                                                                                                             HOUSTON
                                          12/28/2018
ANTHONY           224012101010    7                      12/30/2018 7:00   No   combative                 2979296   POLICE
                                               20:09
WAYNE                                                                                                               DEPARTMENT
                                                                                                                    SHERIFFS
                                                                                no PC found earlier /
GUEVARA,                                  12/29/2018                                                                DEPARTMENT
                  224014701010    3                     12/30/2018 10:00   No   unable to locate paper    2979308
STEPHEN                                        15:57                                                                HARRIS
                                                                                work
                                                                                                                    COUNTY
                                                                                                                    HOUSTON
                 221409001010             12/29/2018
VELOSA, ALIZE                    12                     12/30/2018 10:00   No   Medical-condition         2955019   POLICE
                 223244101010                  15:45
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
                 224012601010                                                   Mental-illness or
BLAND, DAVID                     11   12/29/2018 8:35   12/30/2018 16:00   No                              354275   POLICE
                 224012501010                                                   Intellectual-disability
                                                                                                                    DEPARTMENT
                                                                                                                    HOUSTON
MORALES, TONI-                            12/29/2018
                  223131501010   15                     12/30/2018 18:00   No   Medical-condition         2824053   POLICE
AMBER                                          17:14
                                                                                                                    DEPARTMENT
                                                                                                                    SHERIFFS
CONTRERAS,
                                                                                                                    DEPARTMENT
ROBERTO           224022401010    3   12/30/2018 4:12   12/30/2018 20:00   No   Medical-condition         2677886
                                                                                                                    HARRIS
ARNULFO
                                                                                                                    COUNTY
                                                                                                                    SHERIFFS
MORGAN, SEAN                              12/30/2018                                                                DEPARTMENT
                  224029301010   14                     12/30/2018 23:00   No   Medical-condition         2969149
DANIEL                                         12:30                                                                HARRIS
                                                                                                                    COUNTY




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